 2:08-cv-14792-RHC-MKM   Doc # 37    Filed 12/23/09   Pg 1 of 20   Pg ID 503
                                                                               1


 1                       UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
 2                             SOUTHERN DIVISION

 3    TDC INTERNATIONAL CORP.,

 4                        Plaintiffs,                 Case No. 08-14792
        -v-
 5
      JAE L. BURNHAM,
 6
                      Defendants.
 7   ____________________________________/

 8                                  MOTION HEARING

 9                BEFORE THE HONORABLE ROBERT H. CLELAND
                      United States District Judge
10               Theodore Levin United States Courthouse
                      231 West Lafayette Boulevard
11                          Detroit, Michigan
                      Wednesday, December 10, 2009
12
      APPEARANCES:
13
      FOR THE PLAINTIFF:
14                            ARNOLD S. WEINTRAUB
                              Weintraub Group
15                            28580 Orchard Lake Road, Suite 140
                              Farmington Hills, MI 48334-1569
16                            (248) 865-9430

17    FOR THE DEFENDANT:      MARK A. CANTOR
                              BRIAN S. TOBIN
18                            Brooks & Kushman
                              1000 Town Center, 22nd Floor
19                            Southfield, MI 48075-9871
                              (248) 358-4400
20

21

22

23
               To Obtain a Certified Transcript Contact:
24       Christin Russell, CSR, RPR, FCRR, CRR - (313) 964-2026
             Proceedings produced by mechanical stenography.
25        Transcript produced by computer-aided Transcription.
 2:08-cv-14792-RHC-MKM   Doc # 37   Filed 12/23/09   Pg 2 of 20   Pg ID 504
                                                                                     2


 1                         TABLE OF CONTENTS
         _____________________________________________________
 2

 3    IDENTIFICATION                                                          PAGE

 4    Argument by Mr. Cantor.............................                      3

 5    Argument by Mr. Weintraub..........................                      7

 6    Rebuttal by Mr. Cantor.............................                      10

 7    Ruling by the Court................................                      11

 8    Certificate of Court Reporter......................                     20

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
 2:08-cv-14792-RHC-MKM    Doc # 37   Filed 12/23/09   Pg 3 of 20   Pg ID 505
                            MOTION HEARING - 12/10/2009                              3


 1   Detroit, Michigan

 2   December 10, 2009

 3   10:00 a.m.

 4                               *        *       *

 5                       (Call to Order of the Court.)

 6              THE CLERK:      Calling case No. 08-14792.             TDC

 7   International Corporation vs. Jae Burnham.

 8              THE COURT:      And for Plaintiff, first?

 9              MR. WEINTRAUB:       Arnold Weintraub, your Honor.

10              THE COURT:      Mr. Weintraub.

11              And for Defendant?

12              MR. CANTOR:      Mark Cantor and Brian Tobin, your

13   Honor.

14              THE COURT:      All right.      Counsel, this is Mr.

15   Burnham, as Defendant, his counsel's motion to withdraw

16   from representation on this matter.              And that is your

17   motion, principally, Mr. Cantor.

18              MR. CANTOR:      Thank you, your Honor.

19              THE COURT:      I have, in addition, just initially,

20   you would note here that I, in setting this hearing,

21   directed that the defendant should personally attend.                     And

22   you'll comment on that, I know.

23              MR. CANTOR:      Correct, your Honor.

24              THE COURT:      Go ahead.

25              MR. CANTOR:      First of all, Mark Cantor.             I think


                  TDC INTERNATIONAL CORP. vs. BURNHAM - 08-14792
 2:08-cv-14792-RHC-MKM   Doc # 37   Filed 12/23/09   Pg 4 of 20   Pg ID 506
                           MOTION HEARING - 12/10/2009                         4


 1   it may be defendant or defendants.

 2              THE COURT:     It is -- well, it's a d/b/a.

 3              MR. CANTOR:     Right.

 4              THE COURT:     Quick and Easy Moving and Quick and

 5   Easy Moving, LLC.

 6              MR. CANTOR:     This is actually -- usually these

 7   matters are fairly simple, motions to withdraw as counsel.

 8   There's the state rule of ethics and the rules that govern

 9   lawyers set forth conditions upon which a lawyer can

10   withdraw from representation.          Usually there's breakdown in

11   the attorney/client relationship, very often relates to not

12   being paid, disagreement, things like that.

13              This case is somewhat unusual, which is why I

14   wanted to come down, is because one of the issues that's

15   been coming up a lot is when does representation terminate

16   of a client.

17              This one, the activities occurred shortly after

18   the final judgment in the case.           But it's interesting, I've

19   settled cases over the last 20 years here.               In the system,

20   I guess under this scenario, I'm still counsel for them,

21   even after the case has terminated, even though I may not

22   have done work for them in ten years.             It's a very

23   interesting issue.      It creates incredible liability issues

24   for us as well, which we go around with our carrier all the

25   time about do you send termination of representation


                 TDC INTERNATIONAL CORP. vs. BURNHAM - 08-14792
 2:08-cv-14792-RHC-MKM   Doc # 37    Filed 12/23/09   Pg 5 of 20    Pg ID 507
                           MOTION HEARING - 12/10/2009                            5


 1   letters once you finish a lawsuit, which even under today's

 2   scenario wouldn't help me because I'm still of record in

 3   the federal court system.          So it's a very interesting

 4   issue.

 5              In this particular case, you ordered the

 6   defendant to be here.          The defendant was notified to be

 7   here.    And we have provided the Court with an e-mail we

 8   received this morning.          It was sent about four a.m.            I

 9   think we got it seven or eight a.m., in which he said

10   because of the weather, he said to please apologize to the

11   Court and let you know he could not attend.                   We provided

12   that to the Court and to Mr. Weintraub to review.

13              The interesting issue in this case is that after

14   we settled the case, we terminated our representation with

15   Mr. Burnham.    We provided the Court with a copy of that

16   letter.    Mr. Weintraub, we discussed this earlier, believes

17   that Brooks Kushman should have some obligation towards the

18   settlement because we signed the consent judgment, which by

19   the way, we were required to do under the rules anyway.                     In

20   fact, your office called me -- I was in front of Judge

21   Borman -- to come down here and sign it.

22              And it's a very interesting theory as to whether

23   a law firm can be held responsible for the settlement

24   obligation of a client in a lawsuit.              I think I haven't

25   seen any authority for that, but I think it would be quite


                 TDC INTERNATIONAL CORP. vs. BURNHAM - 08-14792
 2:08-cv-14792-RHC-MKM   Doc # 37   Filed 12/23/09   Pg 6 of 20    Pg ID 508
                           MOTION HEARING - 12/10/2009                             6


 1   a unique ruling.      And it would certainly change the nature

 2   of attorney/client relationship to rule on something like

 3   that.   But I think at this point, that issue hasn't been

 4   flushed out enough and I don't think it's appropriate.

 5              More importantly, in this case, the basis for

 6   withdrawal is more, that I believe, clerical in this case.

 7   We provided a letter that we terminated our attorney/client

 8   relationship after the case was settled.              There's been

 9   nothing in the record to contradict that, not by Mr.

10   Burnham who has received notice of everything, not by the

11   plaintiffs, who have also seen that letter.                  Our

12   attorney/client relationship ended upon sending that

13   letter.   The only reason we're still of record is because

14   the way the federal court system works today, we seem to be

15   of record forever once you're in the electronic system.

16              So the question should be, should we be allowed

17   to withdraw.    I believe we should, where there is no longer

18   an attorney/client relationship.

19              Now, the other issue that we discussed briefly,

20   and I just want to comment on it, in chambers, is that what

21   we knew or didn't know, what we discussed with Mr. Burnham

22   prior to the settlement being signed.             Unfortunately, I am

23   not at liberty to discuss that with the Court.                     That did

24   constitute attorney/client communications.               It is not my

25   privilege to waive.      It's only Mr. Burnham's privilege to


                 TDC INTERNATIONAL CORP. vs. BURNHAM - 08-14792
 2:08-cv-14792-RHC-MKM   Doc # 37   Filed 12/23/09   Pg 7 of 20   Pg ID 509
                           MOTION HEARING - 12/10/2009                        7


 1   waive, and at least as of this point, it's not waived.

 2              And I think your Honor's directive to have him

 3   here would have been a good one, because then he could have

 4   said what we discussed, it's his to waive.               Or he could

 5   have said to me, Mr. Cantor, go ahead, you're free to tell

 6   them what we discussed.        I can only tell you it has been my

 7   practice for years, when I enter into something, I fully

 8   expect that my client will comply with it.               And I can't

 9   really go much beyond that with this case.

10              Other than that, I think it's a very simple

11   motion.    It's a motion to withdraw.           And I think anything

12   beyond that is really beyond the scope of what we're here

13   for.

14              THE COURT:     Thank you, Mr. Cantor.

15              Mr. Weintraub?

16              MR. WEINTRAUB:      Yes, your Honor.         Thank you.

17              From my perspective, I don't think it's that

18   simple, your Honor.      One thing I must point out is that we

19   don't know Mr. Burnham's position about permitting Brooks &

20   Kushman to withdraw with respect to this matter.                 And I

21   think from my perspective, we've wasted the time by coming

22   down here without knowing Mr. Burnham's position.

23              I note that the e-mail came in at 3:50 this

24   morning.   Obviously, someone was at Brooks & Kushman's

25   office this morning to retrieve this.             And I think a simple


                 TDC INTERNATIONAL CORP. vs. BURNHAM - 08-14792
 2:08-cv-14792-RHC-MKM    Doc # 37    Filed 12/23/09   Pg 8 of 20   Pg ID 510
                            MOTION HEARING - 12/10/2009                         8


 1   phone --

 2              THE COURT:      No.     That, I think the implication

 3   would be that someone was at the sending address in order

 4   to hit the button to dispatch it.

 5              MR. WEINTRAUB:        You got this this morning.

 6              MR. CANTOR:      Your Honor, we got it on our

 7   Blackberries.       And then Mr. Tobin was downtown, he went

 8   over and printed it out at Kinko's.

 9              THE COURT:      I understand it was sent this morning

10   early.

11              MR. WEINTRAUB:        Yeah, 3:50 a.m.

12              THE COURT:      Okay.

13              MR. WEINTRAUB:        I, if Mr. Burnham wasn't here,

14   then we could have been contacted and not spent the time to

15   come down here.       But all that aside, because I still think

16   it's important to get Mr. Burnham's position as to the

17   propriety of the withdrawal.

18              I saw the letter for the first time that they

19   sent to Mr. Burnham when they attached it to the motion.

20   And I do believe it's the client's, just as much as its

21   counsel, their client's position as to whether or not he

22   wants them to withdraw.          And I do believe that he has to be

23   here in order to fully resolve that issue.

24              But more importantly, your Honor, and as we

25   discussed in chambers -- and Mr. Cantor is right, there's


                 TDC INTERNATIONAL CORP. vs. BURNHAM - 08-14792
 2:08-cv-14792-RHC-MKM   Doc # 37   Filed 12/23/09   Pg 9 of 20   Pg ID 511
                           MOTION HEARING - 12/10/2009                        9


 1   really probably no authority on this.             I've heard it

 2   hypothesized by other judges that it is undoubtedly

 3   counsel's ethical and moral obligation that when they have

 4   a client execute a settlement agreement that's been

 5   negotiated, that they have the obligation, as I said, to

 6   ensure, at least to the best of their ability, that the

 7   terms and conditions are complied with.

 8               As this Court is aware, the settlement agreement

 9   provided in paragraph 1 that there should be a charitable

10   donation in the amount of $1,500 to North Star Junior

11   Sailing of Harrison Township, concurrent with the execution

12   of this agreement.      It didn't call for payouts, didn't call

13   for anything - concurrent.

14               I believe that counsel had the obligation to

15   assure that that check was posted, that the donation was

16   made concurrent with the execution, and that's what this

17   provided.    This was done on June 10th.            And I don't believe

18   that this settlement agreement was signed in vacuo.

19               And it was only I began badgering, and I'll admit

20   it was badgering, I kept on asking where is the check?

21   Where is the donation?         And I was always rebuffed.           In

22   fact, it went so far, your Honor, as I was told that Mr.

23   Burnham had contacted my client and left messages at phone

24   numbers.    I have checked with my client.            My client is

25   here.   No such phone call was ever made.             But most


                  TDC INTERNATIONAL CORP. vs. BURNHAM - 08-14792
2:08-cv-14792-RHC-MKM   Doc # 37    Filed 12/23/09   Pg 10 of 20   Pg ID 512
                           MOTION HEARING - 12/10/2009                         10


 1   importantly, ab initio, the settlement agreement wasn't

 2   complied with when counsel had their client execute the

 3   settlement agreement.         They knew or should have known that

 4   there was no charitable donation made concurrent with the

 5   execution of the settlement agreement.              And, therefore, to

 6   permit counsel to withdraw basically exonerates them for

 7   the failure or more importantly, the misrepresentation

 8   contained within the settlement agreement.

 9             I would submit to the Court, that the failure to

10   have the concurrent donation was a clear misrepresentation,

11   which Mr. Burnham entered into and counsel, I would

12   suggest, knew or should have known of that, and therefore,

13   not permitted Mr. Burnham to sign the settlement agreement

14   or not have him sign the settlement agreement until that

15   donation was made.

16             Thank you, your Honor.

17             THE COURT:     All right.        Anything further, on any

18   of those points, Mr. Cantor?

19             MR. CANTOR:     No, I don't believe so, your Honor.

20   I think it's, it's again, I go back to the point that is

21   that clients agree on their own.            We are all big boys and

22   girls here.   They signed it and they agreed to it.                 I can't

23   trace my clients afterwards to see if they are going to do

24   it.   Every time Mr. Weintraub called, we communicated to

25   our client, we tried to make calls, we followed up the best


                 TDC INTERNATIONAL CORP. vs. BURNHAM - 08-14792
2:08-cv-14792-RHC-MKM   Doc # 37   Filed 12/23/09   Pg 11 of 20   Pg ID 513
                           MOTION HEARING - 12/10/2009                        11


 1   we could.     We did everything we could to try and do this,

 2   you know.     You met my client, your Honor, when he was here.

 3   And I think that hopefully he'll come in next time you

 4   order him to come in and you can ask him about this.

 5               But the more interesting issue to me is they say

 6   we don't have any indication whether Mr. Burnham objects or

 7   consents to this motion to withdraw.             He just communicated

 8   with the Court.     He didn't say anything about objecting to

 9   it.   He knows we're withdrawing.          He's got a copy of our

10   motion.     And he knows he was supposed to come here today.

11   And he knows he owes the money, too.

12               I mean, I think that what's happening here is

13   we're taking a very small matter and blowing it away out of

14   proportion.    I mean, he'll have to comply with the

15   settlement and your injunction.          And the fact we're no

16   longer counsel has nothing to do with that.

17               THE COURT:   I agree upon consideration of the

18   motion and the presentations here that the Brooks Kushman

19   Firm should be permitted to formally withdraw.                And I note

20   the July 8th letter, which followed two weeks following the

21   signing, the final signing of the injunction and the

22   agreement to settle.      The July 8th letter indicated very

23   clearly to the defendant that there would be no further

24   representation provided.        And all this is of course against

25   a background of counsel not having been paid in the first


                  TDC INTERNATIONAL CORP. vs. BURNHAM - 08-14792
2:08-cv-14792-RHC-MKM   Doc # 37   Filed 12/23/09   Pg 12 of 20   Pg ID 514
                           MOTION HEARING - 12/10/2009                        12


 1   instance.    I recollect that was one of the earlier things

 2   that was noted.

 3               Mr. Tobin had come in and continued at the

 4   Court's urging to try to arrange an appropriate resolution

 5   of the case, which had already been discussed.                So to a

 6   certain extent, it seems to me the firm and counsel's firm

 7   has provided a service pro bono here for a civil litigant.

 8               But irrespective of that, and frankly unrelated,

 9   not motivated in any way by that observation, it is clear

10   to me that the defendant has an ample notification of this

11   hearing, has for whatever reason, whether the stated reason

12   or something else, not appeared today in order to be able

13   to state his view.

14               And I would say further that if he were in

15   agreement with the proposed withdrawal, the withdrawal

16   would be permitted.      And unless he said something very,

17   very persuasive, were he in disagreement with the proposed

18   withdrawal, it would still be permitted.              So the client's

19   view in this, under the present circumstances, would have

20   little weight in the Court's determination.

21               I set hearings such as this in motions to

22   withdraw from representation and direct that the client be

23   personally present on the record, principally to

24   communicate clearly with the client so that the client

25   knows without doubt what is going on and what will be the


                  TDC INTERNATIONAL CORP. vs. BURNHAM - 08-14792
2:08-cv-14792-RHC-MKM   Doc # 37    Filed 12/23/09   Pg 13 of 20   Pg ID 515
                           MOTION HEARING - 12/10/2009                         13


 1   impending obligations, responsibilities, deadlines and so

 2   forth, and to provide something of a last-ditch opportunity

 3   for the client to say something that may be persuasive with

 4   respect to whatever the basis may be, the stated basis of

 5   the attorney's desire to withdraw from representation.

 6               Sometimes it's lack of communicativeness, lack of

 7   responsiveness to the attorney's requests for interviews

 8   and documents and so forth.          And the client does provide

 9   something persuasive and says I have been lax, but I will

10   not be in the future.         I intend to meet with my attorney

11   today.   I have the documents with me.             We can repair this

12   relationship and go on.         In instances such as that, I've

13   said, well, let's just continue the representation at least

14   for the time being and see if it can be made to work.

15               In a case such as this, it's a different

16   scenario.    I think that the case concluded, at least on

17   paper, and that shortly thereafter, Mr. Tobin's

18   representation concluded as well, also on paper and

19   functionally.      It remains the client's obligation to live

20   up to what he signed, less so the attorney's obligation to

21   pay or to enforce the settlement, so forth.

22               But for reasons that I have expressed and reasons

23   stated in the motion, I'm going to grant the motion to

24   formalize the withdrawal of Mr. Tobin and Mr. Cantor and

25   the firm.


                  TDC INTERNATIONAL CORP. vs. BURNHAM - 08-14792
2:08-cv-14792-RHC-MKM   Doc # 37   Filed 12/23/09   Pg 14 of 20   Pg ID 516
                           MOTION HEARING - 12/10/2009                        14


 1             The motion to enforce the judgment was filed on

 2   the 18th of November, I note.          The briefing was stayed on

 3   the 3rd of December when I saw the motion to withdraw from

 4   representation.     The response to the motion to enforce the

 5   judgment would have been due on the 14th of December, I

 6   note.   It would actually be overdue this week if it were

 7   not construed as a dispositive motion.             But I'm assuming

 8   that it would have been due on the 14th of December, which

 9   is Monday next.

10             I will today enter an order allowing withdrawal

11   of the defendant's attorneys; make it clear that the

12   defendant is either going to be in a position of

13   self-representation or he may rapidly acquire the services

14   of a substitute attorney; and make clear also that any

15   response to the motion to enforce the settlement agreement

16   shall be due on or before the 28th day of December, which

17   would be two weeks post deadline, assuming that I am

18   correct on my calculation of December 14th.

19             I recognize the possibility that on or before

20   that day, it is conceivable that a substitute attorney may

21   communicate with Mr. Weintraub and possibly arrange by

22   agreement some alternate date of response or something of

23   that nature.   But it seems to me the likelihood of that is

24   slim.   I only note that it has happened in some cases where

25   a substitute attorney has come in, asked for some


                 TDC INTERNATIONAL CORP. vs. BURNHAM - 08-14792
2:08-cv-14792-RHC-MKM   Doc # 37   Filed 12/23/09   Pg 15 of 20   Pg ID 517
                           MOTION HEARING - 12/10/2009                        15


 1   additional time or other accommodation, as often as not,

 2   it's granted.

 3             Let me say one other thing.            I had counsel in

 4   chambers for an initial discussion on these motions upon

 5   learning that the defendant had not personally appeared.                 I

 6   was not aware that Plaintiffs were personally present

 7   today.   And although my thought was that we might have been

 8   able to have resolved this motion without an actual

 9   in-court formal appearance, that assumption was made based

10   upon a belief there was no one here but lawyers.                 And I

11   would not have called counsel in to try to get their

12   positions in an off-the record setting had I known that

13   clients were here.

14             And I think it is good to have an in-court, open

15   court, on-the-record discussions in these matters whenever

16   a client is here.     And I just want to say that so the

17   clients understand there was nothing surreptitious intended

18   or out of the ordinary intended in that regard.                 And I

19   thank counsel for their courtesies in that respect as well.

20             Nothing else for the record, Mr. Weintraub, or do

21   you have anything?

22             MR. WEINTRAUB:       A couple things, your Honor.

23             Knowing that you have set the date December 28th,

24   assuming arguendo based upon past conduct, if Mr. Burnham

25   fails to respond, does not get substitute counsel, will the


                 TDC INTERNATIONAL CORP. vs. BURNHAM - 08-14792
2:08-cv-14792-RHC-MKM   Doc # 37   Filed 12/23/09   Pg 16 of 20   Pg ID 518
                           MOTION HEARING - 12/10/2009                        16


 1   Court then issue a contempt citation?             And if so, we will

 2   need an address for Mr. Burnham.

 3              THE COURT:    I think that there is an address in

 4   that e-mail, isn't there?

 5               Is there an address, Mr. Cantor.

 6              MR. CANTOR:    Yes, your Honor.          We'll be happy to

 7   provide Mr. Weintraub with a last known address we have for

 8   him.   In fact, here's the letter where we sent the motion

 9   to him.

10              MR. WEINTRAUB:      It's Grand Ledge.

11              MR. CANTOR:    Yeah.     Here is the letter.

12              MR. WEINTRAUB:      I know.     I have that.

13              MR. CANTOR:    The termination letter is the same

14   address.   The termination letter we attached, it's got his

15   address on there as well.

16              THE COURT:    That is what you believe to be his

17   mailing address?

18              MR. CANTOR:    Yes.

19              THE COURT:    And of course, there's also the

20   e-mail address.

21              MR. CANTOR:    Correct.

22              THE COURT:    Which might not be a bad idea to

23   communicate.

24              MR. WEINTRAUB:      The e-mail address doesn't

25   obviously help us if the Court is going to issue a contempt


                 TDC INTERNATIONAL CORP. vs. BURNHAM - 08-14792
2:08-cv-14792-RHC-MKM   Doc # 37   Filed 12/23/09   Pg 17 of 20   Pg ID 519
                           MOTION HEARING - 12/10/2009                        17


 1   citation.     It has to be served.

 2               THE COURT:   I'm sorry?

 3               MR. WEINTRAUB:     He would have to be served

 4   personally.

 5               THE COURT:   Indeed.      Indeed.     If nothing happens

 6   on or before the 28th of December, if there's silence, then

 7   your motion already seeks -- let's see.

 8               MR. WEINTRAUB:     It seeks enforcement.

 9               THE COURT:   Enforcement in general, yes.

10               MR. WEINTRAUB:     I can let --

11               THE COURT:   I would, based upon your motion and

12   the way that it is phrased and the prayer for relief, after

13   the 28th of December, in the event that there is nothing

14   else filed, an appearance of an attorneys, a response to

15   the motion or something of that nature, I would issue an

16   order to show cause with a date set some time in January

17   why Mr. Burnham should not be held in contempt of court for

18   failure, among other things, failure to answer or to

19   respond to the motion and substantively failure or

20   apparently failure at least to comply with the settlement

21   agreement that he had signed.          So I would trigger that on

22   my own.

23               It would also be important, however, for Mr.

24   Cantor, Mr. Tobin to ensure that the order that I enter

25   with the deadlines and the cautions that it's going to


                  TDC INTERNATIONAL CORP. vs. BURNHAM - 08-14792
2:08-cv-14792-RHC-MKM   Doc # 37   Filed 12/23/09   Pg 18 of 20   Pg ID 520
                           MOTION HEARING - 12/10/2009                        18


 1   express is, in fact, provided to Mr. Burnham, and you

 2   confirm that that be done.         I will probably actually

 3   include a proviso in the order that directs you as a

 4   condition of withdrawing, to state on the record or file

 5   something in the record, a notation that a copy of the

 6   Court's order has been delivered to Mr. Burnham and that

 7   you are assured that he has indeed received it.

 8              MR. CANTOR:    Your Honor, we plan on any thing --

 9   once you issue the order, we plan on getting it to him as

10   best we can, where we know he is now.             And we'll also try

11   to call him and tell him what you said today so he knows

12   how serious this matter is.

13              MR. WEINTRAUB:      So the notices will be sent

14   certified return?

15              THE COURT:    Well, you mean from the Court?

16              MR. WEINTRAUB:      No.    From Mr. Cantor to Mr.

17   Burnham.

18              THE COURT:    To assure -- methodology is not so

19   important as to have confirmation from counsel on the

20   record, that counsel is assured that Mr. Burnham has in

21   hand the Court's order.        That can be done six different

22   ways that I can think of.

23              MR. WEINTRAUB:      Right.

24              THE COURT:    The methodology is not as important

25   as the result.     All right?


                 TDC INTERNATIONAL CORP. vs. BURNHAM - 08-14792
2:08-cv-14792-RHC-MKM   Doc # 37       Filed 12/23/09       Pg 19 of 20   Pg ID 521
                           MOTION HEARING - 12/10/2009                                19


 1             MR. WEINTRAUB:           Thank you, your Honor.

 2             MR. CANTOR:     Thank you, your Honor.

 3             THE CLERK:     All rise.          Court is now in recess.

 4             (Proceedings adjourned at 10:35 a.m.)

 5                                 *         *          *

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25


                 TDC INTERNATIONAL CORP. vs. BURNHAM - 08-14792
2:08-cv-14792-RHC-MKM    Doc # 37   Filed 12/23/09   Pg 20 of 20   Pg ID 522
                            MOTION HEARING - 12/10/2009                        20


 1

 2                         CERTIFICATE OF REPORTER

 3             As an official court reporter for the United

 4   States District Court, appointed pursuant to provisions

 5   of Title 28, United States Code, Section 753, I do hereby

 6   certify that the foregoing is a correct transcript of

 7   the proceedings in the above-entitled cause on the date

 8   hereinbefore set forth.

 9

10

11                         s/ Christin E. Russell__

12             Christin E. Russell, CSR, RPR, FCRR, CRR

13                      Federal Official Court Reporter

14

15

16

17

18

19

20

21

22

23

24

25


                 TDC INTERNATIONAL CORP. vs. BURNHAM - 08-14792
